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UNITED STATES DISTRICT COURT SOUTHERN
DISTRICT OF NEW YORK
                                ..X
UNITED STATES OF AMERICA,
                              Plaintiff,                    NOTICE OF MOTION

                -against-                                    11 CR 111 (NRB)



ALWAR POURYAN, ET AL.
                              Defendants.
                                              -X


        PLEASE TAKE NOTICE that upon the annexed affirmation of Lee A. Ginsberg, Esq.,

and upon the annexed Memorandum of Law, and the prior proceedings had herein, the undersigned

will move this Court pursuant to Rule 12(b) of the Federal Rules of Criminal Procedure, on the date

determined by the Court, for the following relief:


I.      An Order dismissing the Indictment for lack of jurisdiction;


In the event the Court does not dismiss the Indictment, the undersigned will request the following

additional relief:


II.     An Order striking surplusage from the Indictment;

III.    An Order, pursuant to Fed. R. Evidence 403 and 404 requiring the government to disclose all
        evidence of other crimes, wrongs or acts intended to be used by the government at trial.

IV.     An Order, pursuant to Brady v. Maryland. 373 U.S. 83 (1963), and it progeny, directing the
        government to produce all information which tends to exculpate the defendant.
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V.       An Order permitting the Defendant Alwar Pouryan to join in all motions of his co-defendants that
         are not inconsistent with th relief requested herein;

VI.      An Order granting such other relief as this Court deems just and



  Dated: New York, New York
         May 1,2012

                                                          Lee A. Gi
                                                          Freeman, Nooter.
                                                          30 Vesey Street, Ste 100
                                                          New York, NY 1007
                                                          (212)608-0808




  TO:
  HON. Naomi R. Buchwald
  United States District Judge
  Southern District of New York
  500 Pearl Street
  New York, New York 10007

     CLERK OF THE COURT (BY ECF)
     Southern District of New York
     500 Pearl Street
     New York, New York 10007

     AUSA Glen Kopp, Esq. (BY ECF)
     AUSA Christian Everdale, Esq. (BY ECF)
     All Defense Counsel (BY ECF)
